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 6
                                 UNITED STATES DISTRICT COURT
 7
                                      DISTRICT OF NEVADA
 8
      JARED JAFFEE                                    *
 9                                                    *
             Plaintiff,                               *
10                                                    *    Case No. 2:20-cv-2069
             v.                                       *
11
                                                      *
12    RAUSCH, STURM, ISRAEL,                          *
      ENERSON & HORNIK LLP d/b/a                      *
13    RAUSCH STURM                                    *
                                                      *
14           Defendant.
15                        COMPLAINT AND DEMAND FOR TRIAL BY JURY
16
            Comes now Jared Jaffee (“Mr. Jaffee” or the “Plaintiff”), by and through undersigned
17
     counsel, and as and for his complaint (the “Complaint”) against Rausch, Sturm, Israel, Enerson
18
     & Hornik LLP d/b/a Rausch Sturm (“RSIEH” or the “Defendant”) states as follows:
19
                                                  Introduction
20

21          1.      This case concerns the Defendant’s violations of Section 1692, et seq. of Title 15

22   of the United States Code (the “Fair Debt Collection Practices Act” or the “FDCPA”).

23          2.      The Defendant herein acts in the familiarly complimentary roles of both a
24
     traditional debt collector and a law firm.
25

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28                            COMPLAINT AND DEMAND FOR TRIAL BY JURY - 1
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 1          3.      In the course of prosecuting a civil claim against Mr. Jaffee, for collection of a
 2   putative credit card debt, the Defendant learned Mr. Jaffee to be represented by counsel in
 3
     connection with the subject claim; notwithstanding the Defendant knowing Mr. Jaffee to be
 4
     represented by counsel, the Defendant persisted in sending Mr. Jaffee direct communications on
 5
     at least two occasions, in contravention of the express mandate of the FDCPA.
 6
            4.      Mr. Jaffee thusly brings this suit to (i) collect those damages legally due to Mr.
 7

 8   Jaffee under the FDCPA; and (ii) endeavor to ensure other members of the Nevada consumer

 9   community are not being similarly victimized by the Defendant’s aggressive debt collection

10   practices.
11
                                                    Parties
12
            5.      Mr. Jaffee is a natural person who is a citizen of the State of Nevada by virtue of
13
     his ongoing residency therein.
14
            6.      The Defendant is a Wisconsin limited liability partnership doing business in the
15

16
     State of Nevada.

17                                        Jurisdiction & Venue

18          7.      This Honorable Court enjoys jurisdiction over the matter sub judice pursuant to
19   the allowances of Section 1331 of Title 28 of the United States Code, as the sole cause of action
20
     enumerated herein arises under the laws of the United States.
21
            8.      This Honorable Court further enjoys jurisdiction over the matter sub judice
22
     pursuant to the allowances of Section 1292k(d) of Title 15 of the United States Code, as this is an
23
     action to enforce liability under the FDCPA.
24

25          9.      Venue is properly laid in the Honorable Court pursuant to Section 1391(b) of Title

26   28 of the United States Code, as a substantial part of the events giving rise to the claims stated

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28                           COMPLAINT AND DEMAND FOR TRIAL BY JURY - 2
               Case 2:20-cv-02069-JAD-DJA Document 1 Filed 11/11/20 Page 3 of 6



 1   herein occurred through the Defendant’s efforts to collect a putative debt in Clark County,
 2   Nevada.
 3
                                             General Allegations
 4
             10.     The Defendant generally acts as a debt collector, within the meaning set forth in
 5
     Section 1692a(6) of Title 15 of the United States Code, as the Defendant (i) routinely uses the
 6
     mails and other instrumentalities of interstate commerce; (ii) to regularly endeavor to collect
 7

 8   debts; (iii) due to other persons.

 9           11.     American Express National Bank (“Amex”) alleges Mr. Jaffee to be in its debt as

10   and for various charge card or credit card obligations putatively incurred by Mr. Jaffee.
11
             12.     On or about September 30, 2020, the Defendant, acting on behalf of Amex,
12
     brought suit against Mr. Jaffee, in the Las Vegas Township Justice Court (the “Lawsuit”), in an
13
     effort to collect upon Mr. Jaffee’s alleged debt to Amex (the “Alleged Debt”).
14
             13.     Subsequently, on October 20, 2020, Mr. Jaffe, acting through undersigned
15

16
     counsel, caused a motion to dismiss to be filed in the Lawsuit (the “Motion to Dismiss”).

17           14.     The Motion to Dismiss is clearly signed by legal counsel, contains the name and

18   contact information of legal counsel on the top of its first and fifth pages, as well as at the foot of
19   its fourth page, and makes express reference to Mr. Jaffee proceeding “by and through
20
     undersigned counsel.”
21
             15.     The Motion to Dismiss was electronically served upon the Defendant at the time
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     of the Motion to Dismiss being docketed, through the Las Vegas Township Justice Court’s e-
23
     filing system, with notice being given to the Defendant almost instantaneously through such
24

25   system.

26

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28                            COMPLAINT AND DEMAND FOR TRIAL BY JURY - 3
             Case 2:20-cv-02069-JAD-DJA Document 1 Filed 11/11/20 Page 4 of 6



 1          16.       Six days later, on October 26, 2020, the Defendant nonetheless wrote to Mr. Jaffee
 2   “regarding the unpaid balance on the above referenced account,” and therein suggested Mr. Jaffee
 3
     enter into a payment plan that “could help resolve American Express’ pending lawsuit against
 4
     you, and satisfy the balance owed” (the “October 26, 2020 Letter”).
 5
            17.       The October 26, 2020 Letter was sent to Mr. Jaffee, through the mails, on October
 6
     26, 2020.
 7

 8          18.       Subsequently, the Defendant again wrote to Mr. Jaffee, inter alia, “We work with

 9   a lot of great people who are in difficult situations and understand that this matter might be

10   uncomfortable to discuss, but we want to find a way to resolve it with you” (the “November 3,
11
     2020 Letter”).
12
            19.       The November 3, 2020 Letter is dated October 28, 2020 but was sent to Mr. Jaffee,
13
     through the mails, on November 3, 2020, as reflected by the postmark upon the correlative
14
     envelope.
15

16
            20.       The November 3, 2020 Letter was thusly mailed to Mr. Jaffee a full two weeks

17   after the Defendant learned of Mr. Jaffee being represented by legal counsel in connection with

18   the Alleged Debt.
19                     Count I – Violation of the Fair Debt Collection Practices Act
20
            21.       Mr. Jaffee incorporates and realleges each and every foregoing paragraph of this
21
     Complaint as though fully set forth herein.
22
            22.       The Defendant was, at all times relevant, a debt collector within the meaning set
23
     forth in Section 1692a(6) of Title 15 of the United States Code and was, further, at all times
24

25   relevant, acting as a debt collector.

26

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28                             COMPLAINT AND DEMAND FOR TRIAL BY JURY - 4
             Case 2:20-cv-02069-JAD-DJA Document 1 Filed 11/11/20 Page 5 of 6



 1          23.     Mr. Jaffee is a consumer within the meaning set forth in Section 1692a(3) as he is
 2   a natural person allegedly obligated to pay a debt.
 3
            24.     The monies the Defendant has endeavored to collect from Mr. Jaffee are a debt
 4
     within the meaning set forth in Section 1692a(5) of Title 15 of the United States Code, as the
 5
     Alleged Debt to Amex is comprised of monies expended on personal and household purposes.
 6
            25.     On October 20, 2020, the Defendant became aware Mr. Jaffee is represented by
 7

 8   an attorney in connection his Alleged Debt to Amex, as Mr. Jaffee filed in the Lawsuit – and

 9   therein served upon the Defendant – the Motion to Dismiss, clearly indicating Mr. Jaffee to be

10   represented by counsel.
11
            26.     Notwithstanding the Defendant knowing Mr. Jaffee to be represented by an
12
     attorney, the Defendant continued to communicate directly with Mr. Jaffee, through the sending
13
     of the October 26, 2020 Letter and the November 3, 2020 Letter.
14
            27.     Neither Mr. Jaffee nor his legal counsel gave the Defendant prior consent for the
15

16
     Defendant to continue to communicate directly with Mr. Jaffee, nor is it believed the permission

17   of any court of competent jurisdiction was obtained by the Defendant.

18          28.     The name and address of Mr. Jaffee’s legal counsel were clearly imprinted upon
19   the Motion to Dismiss in three separate locations, including at the very top of the first page.
20
            WHEREFORE, Mr. Jaffee respectfully prays this Honorable Court (i) enter judgment in
21
     favor of Mr. Jaffee, and against the Defendant, in the sum of One Thousand Dollars and No Cents
22
     ($1,000.00), pursuant to the allowances of Section 1692k(a)(2)(A) of Title 15 of the United States
23
     Code; (ii) award Mr. Jaffee the costs of this action, and his reasonable attorneys’ fees incurred in
24

25   connection with this action, pursuant to the allowances of Section 1692k(a)(3) of Title 15 of the

26   United States Code; and (iii) afford such other and further relief as may be just and proper.

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28                             COMPLAINT AND DEMAND FOR TRIAL BY JURY - 5
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 1                                              Jury Demand
 2           Pursuant to, and in accordance with, the allowances of Federal Rule of Civil Procedure
 3
     38, Mr. Jaffee prays a trial by jury on all matters so triable.
 4

 5

 6                                                   Respectfully submitted,
 7

 8                                                   /s/ Maurice B. VerStandig
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28                            COMPLAINT AND DEMAND FOR TRIAL BY JURY - 6
